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                 EXHIBIT B
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                                      Cooper & Kirk
                                                   Lawyers
                                     A Professional Limited Liability Company
                                  1523 New Hampshire Ave., N.W.
 Nicole J. Moss                       Washington, D.C. 20036                           (202) 220-9600
 nmoss@cooperkirk.com                                                                 Fax (202) 220-9601


                                           December 16, 2019

Via Electronic Mail

Howard Cooper
Christian Kiely
Todd & Weld, LLP
One Federal Street
Boston, MA 02110

Imran Ansari
AIDALA, BERTUNA & KAMINS, P.C.
546 5th Ave
New York, NY 10036

       Re:      Giuffre v. Dershowitz, 19-cv-03377-LAP

Dear Counsel:

        Enclosed herewith please find a copy of Plaintiff Virginia Giuffre’s Rule 26 Initial Disclosures.
Pursuant to the parties’ agreement on documents to be produced as part of the Rule 26 disclosures, we
are posting to a secure sharefile site for you to download the following sets of documents:

       1. Documents produced by Virginia Giuffre in the Giuffre v. Maxwell matter. Many of these
          documents continue to be protected by the confidentiality order in that case and are being
          produced herewith subject to the Court’s direction that this is for use only in this case and
          that only materials that have been unsealed by the Court may be publicly disclosed.

       2. Documents produced by non-party Virginia Giuffre in the Edwards v. Dershowitz matter.

       3. Documents produced by non-party Victims Refuse Silence in the Giuffre v. Maxwell matter.

       4. Virginia Giuffre’s deposition transcripts and transcript exhibits from the Giuffre v. Maxwell
          matter. Again, much of these transcripts and many of the exhibits remain under the
          confidentiality order in that case and are being produced herewith subject to the Court’s
          direction that this is for use only in this case and that only materials that have been unsealed
          by the Court may be publicly disclosed.

       5. Flight logs in Plaintiff’s possession from Epstein’s planes;
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